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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK



UNITED STATES OF AMERICA,


        v.                                                DECISION AND ORDER
                                                              19-CR-125-A
JOHN SANDERS, JR.,

                               Defendant.


      This case was referred to Magistrate Judge Jeremiah J. McCarthy, pursuant to

28 U.S.C. § 636(b)(1) for the conduct of pretrial proceedings. On October 9, 2020,

Magistrate Judge McCarthy filed a Report, Recommendation and Order, Dkt. No. 445,

recommending that the motions to suppress and for an evidentiary hearing by

Defendant John Sanders, Jr., pertaining to a January 21, 2019 stop of Defendant’s

vehicle be denied. Defendant filed objections to these recommendations, Dkt. No. 456,

arguing that he established contested issues of fact and therefore a suppression

hearing is warranted. The Government filed its response in opposition thereto, Dkt. No.

462. Oral argument on Defendant’s objections was held before the Court on December

10, 2020.

      Pursuant to 28 U.S.C. §636(b)(1), the Court applies a de novo standard of review

to the portions of a report and recommendation to which specific objections have been

raised. Upon de novo review, and for the additional reasons that follow, the Court

adopts the October 9, 2020 Report, Recommendation and Order and denies

Defendant’s suppression motions and request for an evidentiary hearing.




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       The Court assumes the parties’ familiarity with the prior proceedings and the

issues that are under review. Defendant advances two primary objections: (1) he did

not concede that the traffic stop was lawful, and (2) the police officer who approached

the vehicle did not have probable cause to search the vehicle because the odor of

marijuana was not strong enough to warrant a full search.

       As to the traffic stop, Defendant agrees with the findings of the Magistrate Judge

that his original motion papers and affidavit stated he was cited for inadequate lights.

However, he argues said statements do not amount to a concession that the stop was

lawful and the Magistrate Judge’s finding to the contrary was therefore unfounded. He

points to language in the initial affirmation referring to “an alleged traffic violation” and

an “illegal stop” to argue that the stop itself was in fact contested. (Dkt. No. 99, ¶¶ 20-

21 [emphases added]).

       Defendant did not explicitly argue in his original suppression motion that he did

not violate the Vehicle & Traffic Law. Attached to the attorney affirmation is the Town of

Tonawanda Police Report from the traffic stop, noting that the stop took place at 9:35

p.m. because the police officer observed the vehicle had “only one operable headlight”.

Defendant was cited with violating New York State Vehicle & Traffic Law § 375-2(a)(1),

which requires “at least two lighted head lamps on the front, one on each side, having

light sources of equal power” when, as is applicable here, it is “one-half hour after

sunset to one-half hour before sunrise”. (Dkt. No. 99-1, pp. 97-98).

       Defendant did not contest the reason for the stop until he filed his second

affidavit in support of his supplemental motion, and then, only in conclusory language

and upon information and belief. He agreed he was stopped at about 9:30 p.m. (See



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Dkt. No. 427-1, ¶ 2 and ¶ 3 [“Upon information and belief, I was not violating any vehicle

and traffic laws that would warrant the stop.”]). This implied allegation that Defendant

did not violate the Vehicle & Traffic Law does not raise the required “sufficiently definite,

specific, detailed, and nonconjectural” factual basis for the motion to suppress

necessary to warrant a hearing. See United States v. Pena, 961 F.2d 333, 339 (2d Cir.

1992). The court has discretion to deny a hearing where a defendant fails to support

the factual allegations of the motion with an affidavit from a witness with personal

knowledge, see United States v. Gillette, 383 F.2d 843, 848 (2d Cir. 1967), and

Defendant did not sufficiently do so here.

       With respect to the odor-of-marijuana issue, Defendant quotes the initial attorney

affirmation where he acknowledged that the police officer “stated that he detected an

odor of marijuana” and the passenger of the vehicle (co-defendant Angelo Kidd)

“indicated that he had smoked marijuana earlier in the day and that his clothing smelled

of marijuana but he had nothing on him”. (Dkt. No. 99, ¶ 22 [emphases added]). He

now argues that his original arguments implied the odor of marijuana was not strong

enough to warrant a full search of the automobile. Defendant also argued in his initial

submissions that there was no probable cause to search the vehicle because “[i]n the

medical marijuana and post-decriminalization era, the mere odor of marijuana absent

other circumstances, should no longer grant officers probable cause to effectuate an

arrest and conduct a search incident thereto”. (Dkt. No. 99, ¶ 27 [emphasis added]; see

¶ 28 [referring to “changing laws in New York State and throughout the United States”]).

       Defendant does not contest, and he has never contested, that there was a smell

of marijuana coming from the automobile—even in his second affidavit. See Dkt. No.



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427-1; compare United States v. Spain, 2019 U.S. Dist. LEXIS 25304, *6-8 (S.D.N.Y.

Feb. 13, 2019 (where the defendant contradicted the police officer’s statement as to the

smell of marijuana and stated that no one in the vehicle had been smoking marijuana,

the Court determined there would be a hearing to resolve that disputed issue of material

fact). Moreover, he does not support with any case law his argument that there was no

probable cause to conduct a warrantless search of the vehicle because the odor of

marijuana was not strong enough. Second Circuit case law has held that “as to the

automobile exception, . . . the police, based upon the generalized smell of marijuana,

ha[ve] the right to search the defendant’s vehicle and any containers within the vehicle

where marijuana might be stored.” United States v. Brock, 2016 U.S. Dist. LEXIS

90990, *5 (W.D.N.Y. July 13, 2016), citing United States v. Ross, 456 U.S. 798 (1982);

see United States v. Goolsby, 820 Fed. Appx. 47, 49 (2d Cir. 2020) (Non-precedential

Summary Order) (holding there was probable cause to search the defendant’s vehicle

and any containers in which marijuana could be stored where the officer smelled burnt

marijuana and the defendant said he had been smoking it “earlier”).

      Here, the police officer not only smelled marijuana “emanating from the vehicle”

and was informed by co-defendant Kidd that he had smoked some earlier in the day,

she also observed that Defendant only rolled down his window three-quarters of the

way and “appeared to be moving overly slow and cautious in a way that was not

normal”. Dkt. 99-1, p. 98; see United States v. White, 298 F. Supp. 3d 451, 460-461

(E.D.N.Y. Feb. 8, 2018) (considering in its probable cause analysis the defendant

“moving around inside the car in a highly suspicious manner”) (collecting cases). Based

on the totality of the circumstances, there was probable cause to search the vehicle.



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      While “states permitting or decriminalizing the possession of marijuana for

recreational or medicinal purposes have developed different standards for determining

when marijuana’s odor can give rise to a search” (see United States v. Hampton, 2018

U.S. Dist. LEXIS 3914, *18 (D. Conn. Jan. 9, 2018) (collecting cases)), as noted in the

R&R, New York’s law decriminalizing the smoking and possession of small amounts of

marijuana did not take effect until months after Defendant’s January 21, 2019 traffic

stop. Defendant does not claim that he or co-defendant Kidd informed officers that the

marijuana used was medical in nature. In addition, marijuana is a Schedule I controlled

substance under federal law and possession and distribution of marijuana remain a

federal offense. See 21 U.S.C. §§ 802(6); 812; 841(a)(1); 844(a).

      The Court has considered all of Defendant’s other objections and arguments and

finds them to be without merit. Defendant neither objects to the R&R’s findings and

recommendations that his “supplemental” affidavit was untimely and submitted without

good cause shown nor does he object to the Magistrate Judge’s recommendation that

he has not established he is entitled to a suppression hearing on his oral statements to

law enforcement officers. Accordingly, the Court adopts the October 9, 2020 Report,

Recommendation and Order, Dkt. No. 445, and Defendant’s motions to suppress and

for an evidentiary hearing, Dkt. Nos. 99, 427, are denied.

      SO ORDERED.



                                             _s/Richard J. Arcara
                                         HONORABLE RICHARD J. ARCARA
                                         UNITED STATES DISTRICT COURT

Dated: January 11, 2021


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